                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                      3:07cv257
                                    (3:04cr250-5)


TRACY PETTY,                        )
                                    )
            Petitioner,             )
                                    )
            v.                      )                           ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


        THIS MATTER is before this Court on the petitioner’s Motion to Vacate, Set Aside or

Correct Sentence under 28 U.S.C. § 2255. (Doc. No. 1). After consideration of the motion and

the record of prior proceedings, it plainly appears that the petitioner is not entitled to relief;

therefore, the motion will be dismissed.

I.      FACTUAL AND PROCEDURAL BACKGROUND

        On September 27, 2004, the grand jury charged the petitioner and seventeen other

individuals with conspiring to possess with intent to distribute five kilograms or more of cocaine

powder and fifty grams or more of crack cocaine, in violation of 21 U.S.C. § 846 (Count One).

(Case No. 3:04cr250, Doc. No. 3: Indictment). The petitioner was also charged with two counts

of possession with intent to distribute a quantity of crack, or aiding and abetting those offenses,

in violation of 21 U.S.C. § 841 and 18 U.S.C. § 2 (Counts Nine and Fifteen). The indictment

was superseded to specify that the amount of cocaine base reasonably foreseeable to the

petitioner in Count One was at least fifty grams but less than 150 grams and the amount of




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cocaine base involved in Count Fifteen was at least five but less than fifty grams. (Case No.

3:04cr250, Doc. No. 104).

        On June 21, 2005, the petitioner entered a plea agreement in which she agreed to plead

guilty to Count One. (Case No. 3:04cr250, Doc. No. 254 at ¶ 1). The agreement noted the

petitioner’s understanding that she faced “not less than 20 years and not more than life

imprisonment.” (Id. at ¶ 4). The parties stipulated that the amount of cocaine base for which the

petitioner could be held accountable was at least fifty but less than 150 grams. (Id. at ¶ 7(a)). The

agreement provided the government the option to request the petitioner’s cooperation, (Id. at ¶

23), and gave the government sole discretion to determine whether any cooperation warranted a

sentence reduction, (Id. at ¶ 24) .

        On July 8, 2005, the petitioner entered a guilty plea before a magistrate judge. She

testified that her mind was clear and that she understood that she was there to enter a guilty plea

that could not subsequently be withdrawn. (Plea and Rule 11 Hearing Tr. at 3). She affirmed that

she had discussed her case with her attorney. (Id. at 3-4). The petitioner also told the Court that

she understood the charge and the twenty-year minimum term of imprisonment she faced with

her guilty plea. (Id. at 4-5). She stated that she understood and agreed to the terms her Plea

Agreement and that no one had made her any other promises to induce her guilty plea. (Id. at 18,

20-21). The petitioner thanked her counsel for helping her through this situation and answering

her questions. (Id. at 23). The magistrate judge found that her guilty plea was knowingly and

voluntarily made. (Case No. 3:04cr250, Doc. No. 266: Entry and Acceptance of Guilty Plea).




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       The petitioner was represented by new counsel1 at the sentencing hearing on March 30,

2006. She acknowledged her plea before the magistrate judge, her oath to answer his questions

truthfully, and her signing a form confirming that her answers in the plea hearing were true.

(Case No. 3:04cr250, Doc. No. 495: Tr. at 2). The petitioner conceded that her first attorney had

reviewed her plea agreement with her, that the magistrate judge also had reviewed the document

with her, and that her ability to cooperate was only at the government’s request. (Id. at 3-4).

Even so, she claimed that she did not understand that the government retained the discretion to

determine whether any assistance was substantial.2 (Id. at 4-5). Accordingly, she moved to

withdraw her plea. (Id. at 7).

       The Court found that there was no fair and just reason to grant the motion because: (1)

she had failed to offer credible evidence that her guilty plea was unintelligently and involuntarily

tendered; (2) she had not asserted a claim of innocence, particularly in the face of the over-

whelming evidence of her guilt; (3) she had delayed making her request to withdraw her guilty

plea; (4) she had received the close assistance of competent counsel during the pre-plea phase of

her case; (5) the government would be prejudiced by the withdrawal; and (6) the Court would be

inconvenienced and judicial resources would be wasted if the motion were granted. (Id. at 9-11).

See United States v. Moore, 931 F.2d 245, 248 (4th Cir. 1991) (discussing factors to be



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          On January 3, 2006, her first counsel filed a motion to withdraw based on a grievance
filed against him with the local bar association by the petitioner’s godmother, contending that he
had mishandled the case. Counsel was allowed to withdraw and new counsel was appointed.
(Case No. 3:04cr250, Doc. No. 375: Order).
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          The Court subsequently granted the government’s motion to reduce the sentence based
on the petitioner’s substantial assistance, pursuant to Rule 35(b) of the Federal Rules of Criminal
Procedure. (Case No. 3:04cr250, Doc No. 555: Order).

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considered on motion to withdraw guilty plea). The Court then imposed the mandatory

minimum twenty-year term. (Id. at 27; Case No. 3:04cr250, Doc. No. 450: Judgment).

        On direct appeal, the petitioner claimed that the Court erred in denying her motion to

withdraw the plea. (Case No. 3:04cr250, Doc. No. 542: Opinion at 2). On June 4, 2007, the

Fourth Circuit held that the petitioner “clearly was aware of the statutory mandatory minimum

sentence.” (Id.). The appellate court further found that the petitioner was bound by her

statements during the plea hearing about reviewing the plea agreement with her counsel,

understanding its terms, and entering her plea freely and voluntarily, and, therefore, affirmed the

conviction and sentence. (Id. at 3-4).

        In the instant timely-filed Motion to Vacate, the petitioner argues that her first attorney

was ineffective for allegedly failing to inform her about the mandatory minimum; coercing her

plea with a promise; not explaining the risks and benefits of the plea; misinforming her about the

plea agreement; failing to present mitigating evidence; failing to conduct his own investigation;

and failing to investigate her competency. (Doc. No. 1: Motion at 5; Memorandum at 1).

II.     DISCUSSION

        Rule 4(b) of the Rules Governing Section 2255 Proceedings directs sentencing courts to

promptly examine motions to vacate. When it plainly appears from the motion, any attached

exhibits, and the record of prior proceedings that the petitioner is not entitled to relief, the

reviewing court must dismiss the motion.

        A.     Allegations regarding the Plea Agreement

        The petitioner alleges several ways that her first attorney was ineffective regarding the

plea agreement. To establish a claim of ineffective assistance of counsel, a petitioner must show


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that counsel’s performance fell below an objective standard of reasonableness, and that she was

prejudiced by such constitutionally deficient representation. Strickland v. Washington, 466 U.S.

668, 687-91 (1984). In determining reasonableness, there is a strong presumption that counsel’s

conduct was within the wide range of reasonable professional assistance. Id. at 689; see also

Fields v. Attorney Gen’l of State of Md., 956 F.2d 1290, 1297-99 (4th Cir.1992).

       The prejudice prong of the Strickland test is slightly modified when a petitioner

challenges a conviction after having entered a guilty plea. Fields, 956 F.2d at 1297. Under those

circumstances, a petitioner can establish prejudice only by showing that “there is a reasonable

probability that, but for counsel’s errors, [s]he would not have pleaded guilty and would have

insisted on going to trial.” Id. (quoting Hill v. Lockhart, 474 U.S. 52, 59 (1985) (internal citations

and quotation marks omitted)). If a petitioner cannot demonstrate the requisite prejudice, the

claim fails. Fields, 956 F.2d at 1297. Additionally, a petitioner’s earlier statements made under

oath are binding absent “clear and convincing evidence to the contrary.” Id. at 1299 (citing

Blackledge v. Allison, 431 U.S. 63, 74-75 (1977)).

       As noted in the Fourth Circuit’s opinion resolving the direct appeal, the record does not

support a claim of ineffective assistance of counsel regarding the plea agreement. The petitioner

testified previously that she had enough time to review the plea agreement with her attorney. The

plea agreement and the magistrate judge communicated that she faced a mandatory minimum

sentence of twenty years, which she admitted that she understood. The petitioner affirmed that

no one made any promises to induce her guilty plea other than those in the plea agreement. She

stated she was satisfied with her attorney and thanked him for answering her questions.




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        The petitioner has not provided clear and convincing evidence to contradict these earlier

statements under oath. Accordingly, the uncorroborated allegations in the Motion to Vacate do

not warrant an evidentiary hearing. United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005).

Even if counsel misinformed her about the plea agreement or failed to inform her about the

mandatory minimum, the properly conducted plea hearing erased any prejudice.3 United States v.

Foster, 68 F.3d 86, 88 (4th Cir. 1995). Therefore, in plainly appears from the record that the

petitioner is not entitled to relief on these claims.

                B.      Remaining Allegations

        The petitioner’s remaining claims relate to counsel’s alleged failure to present mitigating

evidence, to conduct his own investigation, and to investigate her competency. The petitioner

has not shown that any such information existed, or that it would have affected the outcome in

her case. Because the original sentence was set by the statutory mandatory minimum, the

petitioner’s sentence would not have been any different had mitigating evidence been presented.

Her admission of guilt to the drug conspiracy and drug amount involved obviated any need for

additional investigation. Finally, the petitioner has not shown any grounds for counsel to have

questioned her competency at the time of her guilty plea and sentencing. See Nickerson v. Lee,

971 F.2d 1125, 1136 (4th Cir. 1992) (“a habeas petitioner must come forward with some

evidence that the claim might have merit. Unsupported conclusory allegations do not entitle a

habeas petitioner to an evidentiary hearing.”), abrog’n on other grounds recog’d, Yeatts v.

Angelone, 166 F.3d 255 (4th Cir. 1999). Therefore, she is not entitled to an evidentiary hearing

on these claims.


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         The petitioner’s complaints about the mandatory minimum are now moot since the
Court reduced her sentence to 204 months pursuant to Rule 35.

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III.     CONCLUSION

         The Court has considered the motion and documents submitted by the petitioner along

with the entire record of this matter and finds it is clear that she is not entitled to relief on any of

her claims.

         IT IS, THEREFORE, ORDERED that the petitioner’s Motion to Vacate (Doc. No. 1)

is DISMISSED.

                                                    Signed: October 14, 2008




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